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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 CONSULTANTS IN PROCUREMENT INC., and JAMES
 WILLIAMS,

                                                      Plaintiffs,

                           - against –                              Civil Action No.: 21-cv-04007-BMC

 DIVERSE CAPITAL, LLC, HI BAR CAPITAL, LLC,
 AMAL CAPITAL CORP., EESHAN CAPITAL CORP.,
 AJ ADVANCE, INC., MMHKK, INC. (D/B/A
 KINGDOM KAPITAL), DAVID RABI, YOEL GETTER,
 ARIEL PERETZ, JONATHAN ALLAYEV, and YOSEF
 BREZEL,
                                      Defendants.


        NOTICE OF VOLUNTARY DISMISSAL OF ACTION WITH PREJUDICE

NOTICE IS HEREBY GIVEN that, pursuant to Federal Rule of Civil Procedure

41(a)(1), Plaintiff voluntary dismisses this action in its entirety, against all of the Defendants to

this action, with prejudice. In accordance with Federal Rule of Civil Procedure 41(a)(1), none of

the Defendants to this action have filed an answer to Plaintiff’s Complaint and none of the

Defendants to this action has filed a motion for summary judgment. Dismissal under Federal

Rule of Civil Procedure 41(a)(1) is therefore appropriate.


 Dated: August 24, 2021                      ROBINSON BROG LEINWAND
        New York, New York                 GREENE GENOVESE & GLUCK P.C.


                                          By: s/ Matthew Cono Capozzoli
                                              Matthew Cono Capozzoli

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